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        A.P. Bell v. Raimondo; No. 23-5026 (D.C. Cir.); No. 1:22-cv-01260-TJK (D.D.C)

                                          Exhibit A
                                       Time Itemization

Barry Hartman (Partner)

2022 Total: 4.60

 10/17/2022    Hartman, Barry   Prep for moot for oral argument               1.10

 10/18/2022    Hartman, Barry   Review briefs and prep for moot court; moot   3.50
                                court of T. Hobbs prior to oral argument
                                                                              Total: 4.60




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        A.P. Bell v. Raimondo; No. 23-5026 (D.C. Cir.); No. 1:22-cv-01260-TJK (D.D.C)

                                           Exhibit A
                                        Time Itemization

Derek Kalbfleisch (Associate)


2024 Total: 4.10

 5/9/2024        Kalbfleisch, Derek   Research and analyze timing to submit EAJA    1.00
                                      request for attorneys fees.
 5/10/2024       Kalbfleisch, Derek   Research and analyze fee applications under   3.10
                                      Equal Access to Justice Act and SCOTUS Rule
                                      13 to determine filing deadline.
                                                                                    Total 4.10




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        A.P. Bell v. Raimondo; No. 23-5026 (D.C. Cir.); No. 1:22-cv-01260-TJK (D.D.C)

                                          Exhibit A
                                       Time Itemization

J. Timothy Hobbs (Partner)

2022 Total: 272.20

 3/10/2022     Hobbs, Tim      Calls and emails regarding NMFS approval          0.50
                               of Amendment 53
 3/11/2022     Hobbs, Tim      Multiple calls regarding Amendment 53 and         2.30
                               NMFS's notice of approval of same; prepare
                               email on strategy and circulate to executive
                               committee; begin drafting complaint
 3/15/2022     Hobbs, Tim      Emails regarding NMFS's timing of                 0.50
                               issuance of final rule
 3/18/2022     Hobbs, Tim      Calls and emails regarding Am. 53, next           0.50
                               steps
 3/23/2022     Hobbs, Tim      Continue working on draft complaint; emails       0.50
                               regarding status of final rule
 3/25/2022     Hobbs, Tim      Research case law regarding expediting            2.20
                               review under MSA; research implications of
                               NMFS’s delay in promulgation of final rule
 3/30/2022     Hobbs, Tim      Draft complaint against Am. 53                    2.20

 4/8/2022      Hobbs, Tim      Work on drafting complaint; research in           2.30
                               support of same
 4/18/2022     Hobbs, Tim      Draft complaint; research in support of           1.20
                               same
 4/19/2022     Hobbs, Tim      Draft complaint; research in support of           3.70
                               same
 4/20/2022     Hobbs, Tim      Continue working on complaint and                 2.20
                               research in support of same
 4/21/2022     Hobbs, Tim      Draft complaint; research in support of           2.50
                               same
 4/22/2022     Hobbs, Tim      Draft complaint challenging Am. 53;               1.80
                               research in support of same
 4/27/2022     Hobbs, Tim      Respond to B. Zales regarding timing of           1.50
                               Am. 53 and filing of complaint (0.6); call with
                               E. Brazer regarding same and next steps
                               (0.4); work on complaint (0.5)
 4/28/2022     Hobbs, Tim      Draft complaint challenging Am. 53; confer        2.00
                               with E. Brazer regarding same and strategy
 4/29/2022     Hobbs, Tim      Review Amendment 53 Final Rule; calls             6.40
                               and emails regarding same; draft compliant
                               challenging Amendment 53; research in
                               support of same
 4/30/2022     Hobbs, Tim      Draft complaint challenging Am. 53;               5.00
                               research in support of same
 5/2/2022      Hobbs, Tim      Draft complaint and circulate for review;         4.90
                               assess revisions to same; research in


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        A.P. Bell v. Raimondo; No. 23-5026 (D.C. Cir.); No. 1:22-cv-01260-TJK (D.D.C)

                                         Exhibit A
                                      Time Itemization

                               support of same; confer with parties on
                               strategy and next steps; analyze Final Rule

 5/3/2022      Hobbs, Tim      Revise complaint; research in support of       4.50
                               same; incorporate comments from
                               reviewers; telephone calls and emails
                               regarding same
 5/4/2022      Hobbs, Tim      Revise complaint challenging Amendment         6.00
                               53; calls and emails regarding proposed
                               revisions and arguments against
                               Amendment 53
 5/5/2022      Hobbs, Tim      Revise complaint; call to discuss red          6.30
                               grouper reallocation; confer with clients;
                               circulate revised drafts for review; prepare
                               summons, corporate disclosure statements
                               and filing papers
 5/6/2022      Hobbs, Tim      Finalize and file complaint challenging Am.    3.20
                               53; confer with clients regarding same and
                               strategy
 5/9/2022      Hobbs, Tim      Review press describing lawsuit                0.50

 5/10/2022     Hobbs, Tim      Emails and calls with process servers;         0.60
                               serve by mail
 5/12/2022     Hobbs, Tim      Work on service of summons and complaint       0.50

 5/18/2022     Hobbs, Tim      Check status of service; legal research in     1.50
                               support of claims in complaint; emails with
                               D. Wang regarding same
 5/19/2022     Hobbs, Tim      Research regarding APA issues and              1.20
                               reasons Am. 53 is unlawful based on
                               NMFS's prior acts of unilaterally modifying
                               quotas (0.7); confer with D. Wang regarding
                               research into same (0.5)
 5/24/2022     Hobbs, Tim      Confer with D. Wang regarding research         2.00
                               into APA arguments that Am. 53 is an
                               unlawful post-hoc rulemaking; research
                               regarding same; email to D. Wang providing
                               examples; review status of service on
                               defendants and emails with H. Halverson
                               regarding same
 5/25/2022     Hobbs, Tim      Research legal arguments against NMFS's        1.70
                               preemptive allocation of quota in advance of
                               Amendment 53; confer with D. Wang
                               regarding same
 5/27/2022     Hobbs, Tim      Call with D. Wang to discuss arguments         1.50
                               that Am. 53 is unlawful post-hoc
                               rulemaking; file notice of appearance for M.
                               Scanlon; research opposing counsel




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        A.P. Bell v. Raimondo; No. 23-5026 (D.C. Cir.); No. 1:22-cv-01260-TJK (D.D.C)

                                          Exhibit A
                                       Time Itemization

 6/9/2022      Hobbs, Tim      Review research results on case law              2.30
                               involving agency's predetermined outcome;
                               confer with D. Wang regarding same; confer
                               with DOJ regarding case schedule
 6/10/2022     Hobbs, Tim      Confer with DOJ regarding case schedule;         0.40
                               emails regarding same
 6/13/2022     Hobbs, Tim      Emails with DOJ regarding case schedule          0.20

 6/15/2022     Hobbs, Tim      Draft motion for entry of case schedule and      2.30
                               expedited procedures and stipulated order;
                               send to DOJ for review; follow up emails
                               with DOJ regarding same
 6/20/2022     Hobbs, Tim      Research to respond to DOJ on motion for         1.80
                               case schedule (0.8); revise draft motion and
                               send to DOJ for review (1.0)
 6/21/2022     Hobbs, Tim      Finalize and file motion for entry of case       0.40
                               schedule and expedited procedures; confer
                               with DOJ regarding same
 6/23/2022     Hobbs, Tim      Finalize and file motion for entry of case       0.30
                               deadlines; circulate to client
 6/27/2022     Hobbs, Tim      Review NMFS's answer to complaint;               0.50
                               review index of administrative record
 7/6/2022      Hobbs, Tim      Review administrative record documents           1.50
                               produced by NMFS
 7/7/2022      Hobbs, Tim      Review administrative record documents           2.50
                               produced by NMFS
 7/11/2022     Hobbs, Tim      Review the administrative record produced        3.60
                               by NMFS; research options for challenging
                               gaps in record; research legal claims
 7/12/2022     Hobbs, Tim      Review administrative record; research           3.30
                               legal arguments
 7/13/2022     Hobbs, Tim      Review administrative record; legal              3.20
                               research in support of claims; draft opening
                               summary judgment brief
 7/14/2022     Hobbs, Tim      Review administrative record; research           5.80
                               legal arguments; draft opening summary
                               judgment brief
 7/15/2022     Hobbs, Tim      Emails with DOJ regarding potential gaps in      4.50
                               record (0.4); research Administrative
                               Record (2.0); draft opening brief (1.4);
                               confer with N. Reid regarding research
                               tasks (0.7)
 7/18/2022     Hobbs, Tim      Review administrative record; research           6.00
                               legal claims; draft opening brief; emails with
                               counsel for CFA
 7/19/2022     Hobbs, Tim      Review administrative record; confer with D.     6.20
                               Willard regarding economic arguments;
                               research legal claims; draft opening brief
 7/20/2022     Hobbs, Tim      Review record, research legal claims, draft      6.50
                               opening summary judgment brief

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        A.P. Bell v. Raimondo; No. 23-5026 (D.C. Cir.); No. 1:22-cv-01260-TJK (D.D.C)

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                                      Time Itemization

 7/21/2022     Hobbs, Tim      Draft opening summary judgment brief            6.00

 7/22/2022     Hobbs, Tim      Review record for Amendment 53; research        7.30
                               in support of legal claims; draft opening
                               summary judgment brief
 7/23/2022     Hobbs, Tim      Draft opening summary judgment brief;           5.00
                               research in support of same
 7/24/2022     Hobbs, Tim      Draft opening summary judgment brief;           5.00
                               research in support of same
 7/25/2022     Hobbs, Tim      Draft opening summary judgment brief;           5.80
                               research in support of same
 7/26/2022     Hobbs, Tim      Draft opening summary judgment brief;           7.50
                               research in support of same
 7/27/2022     Hobbs, Tim      Draft standing declarations for J. DeLaCruz     7.00
                               and K. Bell; review and incorporate
                               comments into brief; research in support of
                               same; call with Executive Committee
                               regarding same
 7/28/2022     Hobbs, Tim      Revise brief; research additional arguments;    8.00
                               review record; draft standing declarations;
                               confer with clients regarding same; circulate
                               revised drafts of brief
 7/29/2022     Hobbs, Tim      Draft declaration for G. Brooks and emails      7.00
                               regarding same; finalize brief; add citations
                               to record; file brief and supporting
                               declarations with court
 8/1/2022      Hobbs, Tim      Confer with J. Sterne regarding arguments       0.70
                               in opening brief
 8/5/2022      Hobbs, Tim      Calls and emails regarding CFA amicus           2.00
                               brief
 8/8/2022      Hobbs, Tim      Review closure date notice for red grouper      0.30
                               fishery; emails regarding same
 8/12/2022     Hobbs, Tim      Emails and calls regarding Louisiana motion     2.20
                               to intervene; research state's red grouper
                               landings; research case law regarding same
 8/16/2022     Hobbs, Tim      Emails regarding Louisiana intervention and     0.20
                               CCA description of Amendment 53 litigation
 8/17/2022     Hobbs, Tim      Review court order regarding compliance         1.60
                               with local rules; emails regarding same;
                               draft motion in response to court order and
                               confer with opposing parties regarding
                               same
 8/18/2022     Hobbs, Tim      Review Louisiana motion to intervene;           2.20
                               confer with N. Reid about research into
                               same; emails with team regarding same;
                               revise joint motion and proposed order
                               regarding relief from Local Rule 7(h)(1);
                               emails with opposing counsel regarding
                               same; file motion with court


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                                       Time Itemization

 8/19/2022     Hobbs, Tim      Research court order regarding compliance         1.60
                               with Local Rule 7(h)(1)
 9/1/2022      Hobbs, Tim      Review court's order granting Louisiana’s         0.80
                               motion to intervene and follow up emails
                               regarding same
 9/2/2022      Hobbs, Tim      Review summary judgment briefs of NMFS,           3.50
                               CCA and Louisiana; outline research tasks
                               and responses to same
 9/6/2022      Hobbs, Tim      Research in support of reply brief; emails        1.30
                               with N. Reid regarding same and tasks for
                               drafting
 9/7/2022      Hobbs, Tim      Research in support of reply in support of        2.10
                               motion for summary judgment
 9/8/2022      Hobbs, Tim      Review opposition briefs of NMFS,                 2.20
                               Louisiana, and CCA and outline reply brief
 9/9/2022      Hobbs, Tim      Draft reply in support of motion for summary      6.20
                               judgment; research in support of same
 9/12/2022     Hobbs, Tim      Work on reply brief; case law and record          6.00
                               research in support of same
 9/13/2022     Hobbs, Tim      Draft reply brief; research case law and          6.20
                               administrative record in support of same;
                               emails with N. Reid regarding research
                               tasks
 9/14/2022     Hobbs, Tim      Draft reply in support of motion for summary      6.50
                               judgment; research in support of same
 9/15/2022     Hobbs, Tim      Draft reply in support of motion for summary      7.20
                               judgment; circulate for review and
                               incorporate edits; prepare for filing
 9/16/2022     Hobbs, Tim      Revise reply brief and prepare for filing with    4.80
                               court; file same
 10/7/2022     Hobbs, Tim      Review reply briefs filed by NMFS, CCA,           2.20
                               and Louisiana; confer with parties regarding
                               courtesy copies of briefing to chambers and
                               preparation of Joint Appendix
 10/10/2022    Hobbs, Tim      Work on compiling Joint Appendix of               0.60
                               administrative record citations for filing with
                               Court
 10/11/2022    Hobbs, Tim      Work on producing Joint Appendix                  4.50
                               consisting of documents in the record cited
                               or relied upon by the parties; circulate to
                               parties for feedback; draft Notice of Filing of
                               Joint Appendix; revise index
 10/12/2022    Hobbs, Tim      Emails regarding Joint Appendix (0.5);            2.20
                               prepare same for filing with Court (0.7);
                               prepare for hearing (1.2)
 10/13/2022    Hobbs, Tim      Prepare for hearing                               1.50

 10/14/2022    Hobbs, Tim      Prepare for hearing before Judge Kelly;           6.00
                               review case law; review arguments; outline
                               argument

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        A.P. Bell v. Raimondo; No. 23-5026 (D.C. Cir.); No. 1:22-cv-01260-TJK (D.D.C)

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 10/17/2022    Hobbs, Tim      Prepare for hearing before Judge Kelly on       7.50
                               the parties' cross-motions for summary
                               judgment
 10/18/2022    Hobbs, Tim      Prepare for and argue case before Judge         7.50
                               Kelly
 10/20/2022    Hobbs, Tim      Calls and emails regarding status of lawsuit,   1.00
                               press regarding same
                                                                               Total: 272.20




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                                         Exhibit A
                                      Time Itemization


2023 Total: 129.90

 1/6/2023      Hobbs, Tim      Review court's ruling                           0.80

 1/10/2023     Hobbs, Tim      Assess potential for appeal of various          1.30
                               issues
 1/12/2023     Hobbs, Tim      Assess arguments to appeal to D.C. Circuit;     1.50
                               prepare for meeting with clients
 1/13/2023     Hobbs, Tim      Analyze court's ruling; call with parties to    0.80
                               discuss possible appeal to the D.C. Circuit;
                               confer with M. Scanlon and J. Longstreth
                               regarding same
 2/3/2023      Hobbs, Tim      File Notice of Appeal; email with clients       0.30

 2/9/2023      Hobbs, Tim      Emails regarding docketing of appeal with       0.20
                               D.C. Circuit and transcript of hearing
 2/10/2023     Hobbs, Tim      Confer with J. Sterne regarding amicus          0.30
                               participation at D.C. Circuit
 2/16/2023     Hobbs, Tim      Review docketing order from D.C. Circuit;       1.00
                               emails with N. Reid and D. Wang regarding
                               preparation of filings required by court
 2/21/2023     Hobbs, Tim      Confer with N. Reid regarding preliminary       0.30
                               filings with D.C. Circuit
 2/23/2023     Hobbs, Tim      Review and revise motion to expedite,           2.80
                               certified of parties, statement of issues for
                               appeal, and other preliminary filings with
                               D.C. Circuit; emails regarding same and
                               corporate disclosure statement.
 2/28/2023     Hobbs, Tim      Respond to inquiry from D.C. Circuit            0.30
                               mediation program regarding suitability of
                               the case for mediation
 3/5/2023      Hobbs, Tim      Emails regarding briefing schedule and          0.20
                               preliminary filings
 3/6/2023      Hobbs, Tim      Emails with opposing counsel regarding          0.50
                               case schedule and expediting same
 3/9/2023      Hobbs, Tim      Emails with opposing counsel regarding          0.30
                               case schedule and preliminary filings
 3/10/2023     Hobbs, Tim      Draft preliminary filings and motion to         2.30
                               expedite case; emails with J. Longstreth
                               regarding filing of same
 3/15/2023     Hobbs, Tim      Call with N. Reid to discuss issues on          1.00
                               appeal and drafting of opening appellate
                               brief
 3/27/2023     Hobbs, Tim      Review draft sections of opening appellate      0.80
                               brief; emails with N. Reid regarding same
 3/28/2023     Hobbs, Tim      Work on opening appellate brief                 1.60



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 3/30/2023     Hobbs, Tim      Emails regarding filing of forms with DC         0.50
                               Circuit; review draft sections of opening
                               brief
 3/31/2023     Hobbs, Tim      Draft opening appellate brief; research in       7.00
                               support of same; confer with N. Reid
                               regarding same
 4/2/2023      Hobbs, Tim      Draft opening appellate brief                    6.50

 4/3/2023      Hobbs, Tim      Draft opening appellate brief                    7.50

 4/4/2023      Hobbs, Tim      Draft opening appellate brief                    7.80

 4/5/2023      Hobbs, Tim      Draft opening appellate brief; research case     6.00
                               law and administrative record in support of
                               same; circulate draft of brief for review
 4/6/2023      Hobbs, Tim      Revise opening appellate brief; emails           5.50
                               regarding same; incorporate comments
 4/7/2023      Hobbs, Tim      Revise opening appellate brief; check            6.80
                               citations; incorporate comments from J.
                               Longstreth and M. Scanlon; confer with N.
                               Reid regarding final edits and filing; oversee
                               filing of brief with D.C. Circuit
 4/11/2023     Hobbs, Tim      Review amicus brief                              0.60

 5/15/2023     Hobbs, Tim      Review answering briefs filed by NMFS,           0.50
                               CCA and Louisiana and circulate to clients
 5/18/2023     Hobbs, Tim      Review response briefs from NMFS, CCA            2.20
                               and Louisiana; draft outline for reply brief;
                               conference call with N. Reid regarding
                               same
 5/22/2023     Hobbs, Tim      Review draft of reply brief prepared by N.       3.20
                               Reid and work on revisions to same
 5/23/2023     Hobbs, Tim      Work on reply brief for D.C. Circuit             5.70

 5/24/2023     Hobbs, Tim      Work on reply brief for D.C. Circuit;            7.00
                               research case law and administrative
                               record in support of same
 5/25/2023     Hobbs, Tim      Work on reply brief; research in support of      7.80
                               same; circulate draft for review; incorporate
                               comments from reviewers
 5/26/2023     Hobbs, Tim      Revise and file reply brief with D.C. Circuit;   7.00
                               emails regarding same and Joint Appendix
 5/31/2023     Hobbs, Tim      Emails regarding preparation of Joint            0.10
                               Appendix for D.C. Circuit
 6/1/2023      Hobbs, Tim      Emails and calls regarding Joint Appendix        0.20
                               preparation and revisions
 6/2/2023      Hobbs, Tim      Calls and emails regarding filing of Joint       0.20
                               Appendix


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 6/5/2023      Hobbs, Tim      Work on filing Joint Appendix and                  0.50
                               submission of paper copies
 6/23/2023     Hobbs, Tim      Review court order setting oral argument;          0.40
                               emails regarding same
 9/18/2023     Hobbs, Tim      Prepare for oral argument before the D.C.          1.40
                               Circuit
 9/20/2023     Hobbs, Tim      Prepare for oral argument before D.C.              1.20
                               Circuit
 9/21/2023     Hobbs, Tim      Prepare for oral argument before the D.C.          2.50
                               Circuit
 9/22/2023     Hobbs, Tim      Prepare for oral argument before D.C.              3.50
                               Circuit
 9/25/2023     Hobbs, Tim      Prepare for oral argument before DC Circuit        7.00

 9/26/2023     Hobbs, Tim      Prepare for oral argument before DC Circuit        7.50

 9/27/2023     Hobbs, Tim      Deliver oral arguments to the DC Circuit           4.00

 10/2/2023     Hobbs, Tim      Review NMFS Rule 28j letter to court               2.00
                               regarding bycatch practicability analysis;
                               draft response to same
 10/3/2023     Hobbs, Tim      Revise letter response to court regarding          1.50
                               NMFS's failure to assess measures to
                               minimize bycatch or bycatch mortality;
                               emails regarding same; file letter with court
                                                                                  Total: 129.90



2024 Total: 21.70

 3/1/2024      Hobbs, Tim      Review DC Circuit opinion; prepare                 1.80
                               summary of same; think through
                               implications; emails regarding same; call
                               with counsel for amici regarding same
 3/6/2024      Hobbs, Tim      Assess potential issues on remand and              2.30
                               strategy for addressing same; research
                               basis for EAJA fees petition; call with E.
                               Brazer regarding same; email to P. Smith
                               regarding research tasks
 3/14/2024     Hobbs, Tim      Emails with P. Smith regarding research to         0.50
                               support fee petition and review authorities
 3/26/2024     Hobbs, Tim      Research case law to support petition for          1.20
                               attorney’s fees under EAJA
 3/27/2024     Hobbs, Tim      Research timing of finality of judgment and        1.20
                               for fee petition and criteria for eligibility to
                               fees



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                                         Exhibit A
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 3/27/2024     Hobbs, Tim      Research for and draft points for remand of     0.70
                               Am. 53
 3/28/2024     Hobbs, Tim      Begin review of time records to support fee     0.40
                               petition
 4/4/2024      Hobbs, Tim      Research case law to determine likelihood       1.10
                               of success on asserting EAJA claims for
                               Am. 53 litigation
 5/9/2024      Hobbs, Tim      Emails with D. Kalbfleisch regarding            0.70
                               research into statute of limitations for EAJA
                               petition
 5/22/2024     Hobbs, Tim      Emails with E. Brazer regarding fee             0.50
                               petition; emails with P. Smith regarding
                               drafting of same and tasks
 6/11/2024     Hobbs, Tim      Call with E. Brazer to discuss fee petition     1.80
                               and remand strategy; review draft fee
                               petition and provide comments to P. Smith
                               for further revision of same
 6/13/2024     Hobbs, Tim      Research in support of fee petition and         6.00
                               revise same; review time entries and
                               prepare same for filing; draft declarations
                               of E. Brazer, K. Bell, B. Zales and T.
                               Hobbs; emails with clients regarding same
 6/14/2024     Hobbs, Tim      Research case law regarding prevailing          1.70
                               party status under EAJA; review and revise
                               draft motion for fees and send to P. Smith
                               for further work
 6/14/2024     Hobbs, Tim      Review and prepare billing entries for fee      1.80
                               petition
                                                                               Total: 21.70




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                                          Time Itemization

John L. Longstreth (Partner)

2023 Total: 20.70

 1/18/2023     Longstreth,        Review briefs and order in fish case; draft and   4.30
               John               send memorandum on appeal issues
 1/19/2023     Longstreth,        Follow up memorandum on appeal issues             0.50
               John
 3/3/2023      Longstreth,        Review and edit DC Circuit filings and send       1.00
               John               with comments
 3/10/2023     Longstreth,        Review and edit DC Circuit filings and make       0.90
               John               filings, follow-ups on same
 4/5/2023      Longstreth,        Review and edit draft appeal brief                2.50
               John
 4/7/2023      Longstreth,        Final review of brief for filing                  0.50
               John
 5/25/2023     Longstreth,        Review, edit, and comment on draft reply          2.50
               John               brief; send recent Supreme Court Chenery
                                  case
 5/26/2023     Longstreth,        Additional edits and comments on draft reply      1.50
               John               brief
 9/26/2023     Longstreth,        Prepare for and participate in oral argument      3.00
               John               preparation
 9/27/2023     Longstreth,        Attend oral argument; debriefing on same          4.00
               John
                                                                                    Total: 20.70



2024 Total: 0.70

 3/1/2024      Longstreth, John   AP Bell - Review DC Circuit opinion;              0.70
                                  Conference with M Scanlon regarding same
                                  and send comments for report to client
                                                                                    Total: 0.70




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                                         Exhibit A
                                      Time Itemization

Layne Marler (Paralegal)

2022 Total: 6.10

10/11/2022    Marler, Layne   Work on Joint Appendix                         3.40

10/12/2022    Marler, Layne   Continued work on Joint Appendix for hearing   2.70

                                                                             Total: 6.10




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        A.P. Bell v. Raimondo; No. 23-5026 (D.C. Cir.); No. 1:22-cv-01260-TJK (D.D.C)

                                         Exhibit A
                                      Time Itemization

Ruby Nagamine (Associate)

2022 Total: 4.80

7/28/2022     Nagamine, Ruby Cite check and proofread motion for summary   4.80
                             judgment

                                                                           Total 4.80




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        A.P. Bell v. Raimondo; No. 23-5026 (D.C. Cir.); No. 1:22-cv-01260-TJK (D.D.C)

                                         Exhibit A
                                      Time Itemization

Natalie Reid (Associate)

2022 Total: 34.70

 7/14/2022     Reid, Natalie   Review research questions for summary            0.70
                               judgment and call with T. Hobbs regarding
                               the same
 7/18/2022     Reid, Natalie   Research case law supporting argument that       2.30
                               agency predetermined rulemaking in
                               violation of Administrative Procedure Act
 7/19/2022     Reid, Natalie   Research and assess case law precedent for       4.00
                               arguments that agency predetermined
                               action, relied on undisclosed data, and failed
                               to consider aspects of allocation, for use in
                               motion for summary judgment
 7/20/2022     Reid, Natalie   Research, review, and assess case law            4.70
                               establishing basis for summary judgment
                               arguments (3.5); draft analysis of relevant
                               case law (1.2)
 7/21/2022     Reid, Natalie   Additional research on relevant cases            3.10
                               establishing arbitrary and capricious agency
                               action (1.0); draft summary of relevant case
                               law for use in summary judgment motion
                               (2.1)
 7/25/2022     Reid, Natalie   Research and assess cases supporting             4.20
                               argument for NEPA prudential standing
                               (2.5); research and assess cases
                               demonstrating NMFS actions exceeding
                               scope of statutory mandate (1.7)
 7/26/2022     Reid, Natalie   Review draft motion for summary judgment         2.00
                               and correspondence with T. Hobbs
                               regarding same
 9/6/2022      Reid, Natalie   Review government opposition brief               0.40

 9/7/2022      Reid, Natalie   Research and assess case law for use in          3.60
                               response to government opposition brief
                               (3.2); confer with T. Hobbs regarding draft
                               response to opposition brief (0.4)
 9/8/2022      Reid, Natalie   Research and review case law on                  2.40
                               application of statute of limitations on
                               challenges to regulations for use in response
                               to opposition brief
 9/9/2022      Reid, Natalie   Research and assess case law on statute of       5.10
                               limitations as applied to APA challenges
                               under the MSA and case law on standing
                               under the APA (3.0); draft argument
                               responding to defendants' opposition brief
                               (1.2); draft analysis of applicable cases for
                               use in response to opposition brief (1.1)



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                                          Exhibit A
                                       Time Itemization

 9/13/2022     Reid, Natalie   Research and locate supporting case law for         0.90
                               response to opposition brief
 9/14/2022     Reid, Natalie   Research and locate additional case law for         0.60
                               use in reply brief (0.5); email
                               correspondence with T. Hobbs regarding the
                               same (0.1)
 9/16/2022     Reid, Natalie   Review and provide comments on opposition           0.70
                               brief
                                                                                   Total: 34.70



2023 Total: 138.10

 1/26/2023     Reid, Natalie   Review and assess order granting motion for         1.30
                               summary judgment; draft notice of appeal;
                               assess deadlines and local rules associated
                               with notice of appeal
 1/30/2023     Reid, Natalie   Review deadlines following notice of appeal         0.30
                               and email T. Hobbs regarding the same
 2/2/2023      Reid, Natalie   Review process for seeking expedited                1.40
                               treatment under statutory provision; review
                               procedures following notice of appeal; draft
                               email to T. Hobbs regarding the same;
                               coordinate admission to D.C. Circuit
 2/16/2023     Reid, Natalie   Review case scheduling order and draft              1.70
                               pleadings and submissions required for
                               March 10 deadline
 2/17/2023     Reid, Natalie   Review relevant rules of appellate                  2.50
                               procedure; draft statement of issues, entry of
                               appearance, and procedural motion to
                               expedite
 2/20/2023     Reid, Natalie   Review motion for summary judgment and              1.70
                               order; draft and revise statement of issues
                               and motion to expedite; coordinate
                               admission to D.C. Circuit; review appellate
                               procedures governing motion to expedite
 2/22/2023     Reid, Natalie   Draft and revise initial filings including          2.40
                               procedural motion to expedite, statement of
                               issues to be raised, and underlying decision;
                               review case law on waiver implied by
                               statement of issues; email T. Hobbs
                               regarding the same
 2/23/2023     Reid, Natalie   Draft and revise initial filings; draft corporate   1.60
                               disclosure statement; coordinate receipt of
                               transcript
 3/10/2023     Reid, Natalie   Review and revise initial filings; review           0.90
                               appellate rules and email correspondence
                               with J. Longstreth regarding the same




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                                          Exhibit A
                                       Time Itemization

 3/13/2023     Reid, Natalie   Draft and revise corporate disclosure               0.50
                               statement; email correspondence with J.
                               Longstreth regarding the same
 3/15/2023     Reid, Natalie   Call with T. Hobbs regarding opening brief;         2.90
                               review prior briefing; begin draft of of
                               appellants' brief
 3/16/2023     Reid, Natalie   Review and assess previous briefing and             0.90
                               draft appellant's brief
 3/19/2023     Reid, Natalie   Review prior briefing in lower court and draft      3.40
                               appellants opening brief
 3/20/2023     Reid, Natalie   Review and assess summary judgment                  1.90
                               briefing by all parties and prepare draft initial
                               briefing
 3/21/2023     Reid, Natalie   Review intervenor motions for summary               2.50
                               judgment and draft opening brief
 3/22/2023     Reid, Natalie   Draft appellant's opening brief                     3.40

 3/23/2023     Reid, Natalie   Draft appellant's opening brief                     2.50

 3/24/2023     Reid, Natalie   Draft and revise appellant's brief                  4.90

 3/28/2023     Reid, Natalie   Revise and draft appellants opening brief           2.80

 3/29/2023     Reid, Natalie   Draft and revise appellants opening brief           6.40

 3/30/2023     Reid, Natalie   Draft and revise appellants’ brief; email T.        3.40
                               Hobbs regarding the same
 3/31/2023     Reid, Natalie   Draft and revise appellant's opening brief;         2.00
                               meet with T. Hobbs regarding revisions to
                               the same
 4/1/2023      Reid, Natalie   Review prior filings and revise appellant's         5.30
                               opening brief
 4/3/2023      Reid, Natalie   Additional case law research in support of          1.00
                               appellant's opening brief; draft email to T.
                               Hobbs regarding the same
 4/5/2023      Reid, Natalie   Draft and revise appellant's opening brief;         5.30
                               review and incorporate additional edits;
                               coordinate for preparation of final brief;
                               prepare addendum of statutes and
                               regulations
 4/6/2023      Reid, Natalie   Draft and revise appellant's opening brief;         7.80
                               cite check brief; revise table of contents;
                               review and incorporate additional revisions;
                               confirm applicability of relevant local rules;
                               finalize brief to prepare for filing
 4/7/2023      Reid, Natalie   Draft and edit appellant's opening brief; final     3.30
                               revisions to the same; coordinate for filing




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                                          Exhibit A
                                       Time Itemization

 5/1/2023      Reid, Natalie   Review appellant's opening brief and             3.70
                               compile all citations to joint appendix (0.7);
                               draft joint appendix (0.5); review
                               administrative record and compile materials
                               for joint appendix (2.5)
 5/2/2023      Reid, Natalie   Compile all administrative records cited in      2.10
                               appellant's brief and prepare draft of joint
                               appendix
 5/16/2023     Reid, Natalie   Review defendant and intervenor briefing         3.10
                               and draft reply brief
 5/17/2023     Reid, Natalie   Review and analyze NMFS response brief           3.20
                               and draft reply brief
 5/18/2023     Reid, Natalie   Review NMFS briefing; call with T. Hobbs         2.00
                               regarding reply to the same
 5/19/2023     Reid, Natalie   Draft reply brief                                0.40

 5/21/2023     Reid, Natalie   Review Appellee and intervenors' briefs and      7.40
                               draft reply to the same
 5/22/2023     Reid, Natalie   Draft reply brief                                5.00

 5/23/2023     Reid, Natalie   Review intervenor briefs and draft outline of    3.50
                               arguments to be addressed
 5/25/2023     Reid, Natalie   Draft and revise reply brief                     6.00

 5/26/2023     Reid, Natalie   Revise and finalize reply brief                  3.20

 5/30/2023     Reid, Natalie   Draft and prepare Joint Appendix                 4.20

 6/1/2023      Reid, Natalie   Review and revise joint appendix; review         3.00
                               and respond to emails from parties regarding
                               joint appendix; finalize and prepare
                               documents for inclusion in joint appendix
 6/2/2023      Reid, Natalie   Revise and finalize joint appendix; calls with   1.80
                               J. Bortmes regarding the same
 6/6/2023      Reid, Natalie   Revise and prepare joint appendix materials      1.10
                               and assist in filing the same
 6/7/2023      Reid, Natalie   Review and respond to emails on joint            0.20
                               appendix
 6/8/2023      Reid, Natalie   Revise joint appendix, prepare appropriate       2.00
                               cover sheets, organize the same; review
                               local and federal rules on joint appendix
                               filing; coordinate production of hard copy of
                               joint appendix; emails with T. Hobbs
                               regarding the same
 6/12/2023     Reid, Natalie   Prepare supplemental joint appendix and          1.20
                               associated filing; email correspondence with
                               opposing parties regarding the same



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                                          Exhibit A
                                       Time Itemization

 6/13/2023     Reid, Natalie   Draft consent motion to supplement joint            2.00
                               appendix; review federal and circuit rules;
                               revise final briefs; coordinate for production
                               and delivery of hard copies of supplemental
                               joint appendix
 6/14/2023     Reid, Natalie   Revise and prepare final brief and reply and        4.30
                               update with correct citations to joint
                               appendix; coordinate for production of hard
                               copies of the same
 6/15/2023     Reid, Natalie   Revise initial brief and reply and prepare          2.50
                               final brief with joint appendix citations; revise
                               briefs for filing
 6/16/2023     Reid, Natalie   Additional revisions to final brief and final       1.40
                               reply; coordinate production of hard copies
                               to clerk; coordinate filing of final briefs
 9/18/2023     Reid, Natalie   Assess briefing and draft questions for use in      0.80
                               oral argument preparation
                                                                                   Total: 138.10




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        A.P. Bell v. Raimondo; No. 23-5026 (D.C. Cir.); No. 1:22-cv-01260-TJK (D.D.C)

                                          Exhibit A
                                       Time Itemization

Michael F. Scanlon (Partner)

2022 Total: 21.90

 5/2/2022      Scanlon,        Review Amd. 53 final rule; draft complaint         1.00
               Michael
 5/3/2022      Scanlon,        Review and draft revisions to complaint;           1.50
               Michael         emails and calls with T Hobbs regarding
                               same; review emails
 5/5/2022      Scanlon,        Review final complaint, emails to client           0.50
               Michael
 6/24/2022     Scanlon,        Review scheduling order, expedited                 0.30
               Michael         procedures
 6/27/2022     Scanlon,        Review DOJ Answer; emails regarding                0.60
               Michael         administrative record
 7/15/2022     Scanlon,        Emails with T Hobbs regarding DOJ inquiry          0.60
               Michael         on completeness of the administrative record
 7/22/2022     Scanlon,        Review CCA intervention pleadings, emails          0.50
               Michael
 7/26/2022     Scanlon,        Review and draft revisions to summary              1.70
               Michael         judgment brief; emails regarding same
 7/28/2022     Scanlon,        Review revised MSJ, proposed order, emails         0.80
               Michael         regarding same
 7/29/2022     Scanlon,        Review final MSJ pleading, emails regarding        0.70
               Michael         same
 8/18/2022     Scanlon,        Review LA motion to intervene, internal            1.00
               Michael         emails regarding same
 9/1/2022      Scanlon,        Review order granting LA opposition, emails        0.70
               Michael         with T Hobbs regarding same
 9/2/2022      Scanlon,        Review opposition briefs, emails with T Hobbs      1.70
               Michael         regarding same
 9/15/2022     Scanlon,        Review and draft revisions to reply brief,         1.50
               Michael         emails with T Hobbs regarding same
 9/16/2022     Scanlon,        Review and draft revisions to final reply brief;   1.00
               Michael         emails with T Hobbs regarding same
 10/12/2022    Scanlon,        Review reply briefs; emails regarding moot,        0.80
               Michael         review minute order, joint appendix
 10/17/2022    Scanlon,        Review briefings in preparation for moot/oral      2.00
               Michael         argument
 10/18/2022    Scanlon,        Prepare for and participate in moot argument;      5.00
               Michael         participate in oral argument; debrief with T
                               Hobbs
                                                                                  Total: 21.90



2023 Total: 17.90

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                                         Exhibit A
                                      Time Itemization


 1/6/2023      Scanlon,        Review opinion and decision, emails and calls   0.80
               Michael         with T Hobbs regarding same
 1/12/2023     Scanlon,        Calls with T Hobbs regarding appeal             0.50
               Michael
 1/19/2023     Scanlon,        Emails with J Longstreth and T Hobbs            0.50
               Michael         regarding potential avenues of appeal
 2/27/2023     Scanlon,        Review draft statement of issues, mediation     0.60
               Michael         request, emails with T Hobbs regarding same
 2/28/2023     Scanlon,        Review emails in response to Court mediation    0.20
               Michael         service
 3/2/2023      Scanlon,        Review draft statement of issues, emails        0.60
               Michael         regarding motion to expedite
 3/3/2023      Scanlon,        Review edits to statement of issues and         0.50
               Michael         motion to expedite, emails regarding same
 3/15/2023     Scanlon,        Emails regarding order granting expedited       0.50
               Michael         schedule
 3/21/2023     Scanlon,        Emails regarding amicus request                 0.50
               Michael
 3/30/2023     Scanlon,        Review emails regarding notice                  0.40
               Michael
 4/5/2023      Scanlon,        Review and draft revisions to opening brief,    1.70
               Michael         emails with T Hobbs regarding same
 4/7/2023      Scanlon,        Review final version of opening brief, emails   0.60
               Michael         with T Hobbs and J Longstreth regarding
                               same
 5/12/2023     Scanlon,        Review NMFS and CCA brief, emails               0.80
               Michael         regarding same
 5/15/2023     Scanlon,        Review NMFS brief, emails regarding same        1.00
               Michael
 5/24/2023     Scanlon,        Review and draft suggested edits to reply       1.60
               Michael         brief, review revised draft, emails with T
                               Hobbs and J Longstreth
 9/21/2023     Scanlon,        Emails with T Hobbs regarding legislative       0.60
               Michael         history
 9/26/2023     Scanlon,        Prepare for and participate in moot argument    2.50
               Michael         session with T Hobbs, J Longstreth and J
                               Sterne
 9/27/2023     Scanlon,        Prepare for and participate in oral argument;   4.00
               Michael         debrief with T Hobbs and clients
                                                                               Total: 17.90



2024 Total: 0.80




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                                        Exhibit A
                                     Time Itemization

 3/1/2024      Scanlon,        Review DC Circuit Opinion on Amd 53, emails    0.80
               Michael         with T Hobbs and J Longstreth regarding
                               same, review email to client
                                                                              Total: 0.80




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                                          Exhibit A
                                       Time Itemization

Palmer Smith (Associate)

2024 Total: 14.40

 3/6/2024      Smith, Palmer   Research receiving attorneys fees under      0.20
                               Equal Access to Justice Act
 3/12/2024     Smith, Palmer   Research receiving attorneys fees under      0.50
                               Equal Access to Justice Act
 3/13/2024     Smith, Palmer   Research receiving attorneys fees under      2.20
                               Equal Access to Justice Act
 3/14/2024     Smith, Palmer   Research receiving attorneys fees under      3.70
                               Equal Access to Justice Act
 5/29/2024     Smith, Palmer   Draft petition for attorneys fees            0.50

 6/3/2024      Smith, Palmer   Draft petition for attorneys fees            4.10

 6/11/2024     Smith, Palmer   Draft petition for attorneys fees            2.20

 6/12/2024     Smith, Palmer   Draft petition for attorneys fees            1.00

                                                                            Total: 14.40




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        A.P. Bell v. Raimondo; No. 23-5026 (D.C. Cir.); No. 1:22-cv-01260-TJK (D.D.C)

                                         Exhibit A
                                      Time Itemization

David Wang (Associate)

2022 Total: 18.10

 5/23/2022     Wang, David     Research and develop potential arguments       1.40
                               for APA violation section for summary
                               judgment motion
 5/24/2022     Wang, David     Research and develop potential arguments       2.70
                               for APA violation section for summary
                               judgment motion; confer with T. Hobbs re
                               same
 5/25/2022     Wang, David     Research and develop potential arguments       3.30
                               for APA violation section for summary
                               judgment motion; confer with T. Hobbs re
                               same
 5/26/2022     Wang, David     Research and draft APA violation section for   2.20
                               summary judgment motion
 5/27/2022     Wang, David     Research and draft APA violation section for   2.40
                               summary judgment motion; confer with T.
                               Hobbs re same
 5/31/2022     Wang, David     Research and draft APA violation section for   3.20
                               summary judgment motion; confer with T.
                               Hobbs re same
 6/1/2022      Wang, David     Research and draft APA violation section for   1.50
                               summary judgment motion
 6/9/2022      Wang, David     Confer with T. Hobbs re Amendment 53           0.50
                               APA/NEPA violation analysis
 7/15/2022     Wang, David     Research and draft summary arguments           0.90
                               regarding NEPA violations for Amendment
                               53 motion for summary judgment
                                                                              Total: 18.10



2023 Total: 3.10

 2/16/2023     Wang, David     Review and prepare various documents for       0.40
                               D.C. Circuit appeal
 2/20/2023     Wang, David     Review and prepare various documents for       1.60
                               D.C. Circuit appeal
 2/21/2023     Wang, David     Review and prepare various documents for       0.80
                               D.C. Circuit appeal
 2/22/2023     Wang, David     Prepare various documents for D.C. Circuit     0.30
                               appeal
                                                                              Total: 3.10




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